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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

GARRY STEWART, M.D.                                                        PLAINTIFF

v.                           CASE NO. 4:17-CV-00338-BSM

ADVANCED MEDICAL REVIEWS, INC.;
EXAMWORKS, INC.; J.D. HAINES, M.D.; GARY
GRAMM, D.O.; DAVID CHEN, M.D.; ANNA
BELMAN, M.D.; and JENNIFER CROWLEY, R.N.                                DEFENDANTS

             DEFENDANTS’ MOTION TO STRIKE DR. TIMOTHY QUILL

        Defendants, for their motion to strike Dr. Timothy Quill as one of plaintiff’s

trial experts, state:

        1.      This lawsuit involves claims of defamation, intentional interference

with business expectancy, and civil conspiracy, all related to plaintiff Garry

Stewart, M.D.’s care of seven patients at Conway Regional Medical Center

(“CRMC”). See generally Doc. No. 87.

        2.      The Court’s amended final scheduling order established a discovery

deadline of May 11, 2018. See Doc. No. 43, ¶ 2. The same order established

plaintiff’s expert disclosure deadline as February 23, 2018, and plaintiff’s rebuttal

expert disclosure deadline as March 23, 2018. Id., ¶ 4.

        3.      On May 31, 2018, the Court entered a second amended final

scheduling order, which extended the discovery deadline to July 16, 2018. See Doc.

No. 128, ¶ 2. That order did not extend plaintiff’s expert disclosure or deposition

deadline. Id.




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        4.   On July 13, 2018, just one business day before the extended discovery

deadline, plaintiff disclosed Dr. Timothy Quill as an expert witness. See Email from

plaintiff’s counsel, p. 2, attached as Exhibit A. Plaintiff did not offer any dates for

Dr. Quill’s deposition within the time to complete discovery. See id. Nonetheless,

defendants requested one of the offered dates while reserving the right to object to

Dr. Quill’s designation as being untimely. Id. But plaintiff refused to offer Dr. Quill

on any date based on defendants’ objection. Id. at p. 1.

        5.   Defendants’ motion to strike Dr. Quill should be granted because

plaintiff’s expert witness disclosure deadline was not extended. See Fed. R. Civ. P.

16(a), 37(c)(1); Marmo v. Tyson Fresh Meats, Inc., 457 F.3d 748 (8th Cir. 2006);

Trost v. Trek Bicycle Corp., 162 F.3d 1004 (8th Cir. 1998); Sylla-Sawdon v. Uniroyal

Goodrich Tire Co., 47 F.3d 277 (8th Cir. 1995); Wells v. Lamplight Farms, Inc., 303

F.R.D. 530 (N.D. Iowa 2014); Stanley v. Tyson Foods, Inc., No. 5:08-cv-0004-BSM,

2008 WL 5381393, at *1 (E.D. Ark. Dec. 22, 2008).

        6.   Even assuming the expert disclosure deadline was extended,

defendants’ motion should be granted because disclosing Dr. Quill one day before

the discovery deadline is tantamount to no disclosure at all. Parrish v. Bentonville

School District, No. 17-1915, 2018 WL 3544637, at 5, ___ F.3d ___, ___ (8th Cir. July

24, 2018); Popoalii v. Correctional Medical Services, 512 F.3d 488 (8th Cir. 2008);

Voegeli v. Lewis, 568 F.2d 89 (8th Cir. 1977); see also Sabry v. Gilbert Security

Service, Inc. No. 93-2425, 1994 WL 328278, 28 F.3d 1210 (4th Cir. July 11, 1994);




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Draper v. H. Roberts Family, LLC, No. 1:06-CV-3057-CC, 2009 WL 10672315, at 2

(N.D. Georgia Feb. 11, 2009). Accordingly, defendants’ motion should be granted.

        7.    Defendants rely on the following in support of their motion:

                    Exhibit A – Email from plaintiff’s counsel; and

                    A brief in support.

        WHEREFORE, defendants pray that their motion to strike Dr. Timothy Quill

be granted, that they be awarded all fees and costs, and for all other relief to which

they are entitled.

                                           WRIGHT, LINDSEY & JENNINGS LLP
                                           200 West Capitol Avenue, Suite 2300
                                           Little Rock, Arkansas 72201-3699
                                           (501) 371-0808
                                           FAX: (501) 376-9442
                                           E-MAIL: elowther@wlj.com; djung@wlj.com


                                           By /s/ David C. Jung
                                              Edwin L. Lowther, Jr. (81107)
                                              David C. Jung (2013141)
                                              Attorneys for defendants




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                             CERTIFICATE OF SERVICE

        I hereby certify that on July 30, 2018, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which shall send notification of such

filing to the following:

        Ms. Janet Pulliam
        janet@pulliam-muskheli.com

        Mr. Michael Muskheli
        michael@pulliam-muskheli.com

        Mr. Tim Cullen
        tim@cullenandcompany.com

        Mr. John G. Jacobs
        jgjacobs@jacobskolton.com

        Mr. Bryan G. Kolton
        bgkolton@jacobskolton.com


                                        /s/ David C. Jung
                                        David C. Jung




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